      Case 2:19-cr-00219-EEF-DPC Document 290 Filed 06/23/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                       *             CRIMINAL NO. 19-219

       v.                                      *             SECTION: “L”

DAMIAN K. LABEAUD, ET AL                       *

                                           *   *   *

                                         ORDER

       Considering the foregoing Motion to Withdraw Counsel;

       IT IS ORDERED that Jared Haston is hereby withdrawn as counsel of record for the

United States of America in the above-captioned matter.

      New Orleans, Louisiana, this 23rd day of June, 2022.



                                           HONORABLE ELDON E. FALLON
                                           UNITED STATES DISTRICT JUDGE
